




02-12-038-CV









 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
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NO. 02-12-00038-CV

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  Fabian Thomas
  
  
  &nbsp;
  
  
  APPELLANT
  
 
 
  
  &nbsp;
  V.
  &nbsp;
  
 
 
  
  Denise Daniel
  
  
  &nbsp;
  
  
  APPELLEE
  
 


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FROM THE 431st
District Court OF Denton COUNTY

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MEMORANDUM
OPINION[1] AND
JUDGMENT

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On
April 9, 2012, we notified appellant that the trial court clerk responsible for
preparing the record in this appeal informed the court that payment
arrangements had not been made to pay for the clerk’s record as required by
Texas Rule of Appellate Procedure 35.3(a)(2).&nbsp; See Tex. R. App. P.
35.3(a)(2).&nbsp; We stated that we would dismiss the appeal for want of prosecution
unless appellant, within fifteen days, made arrangements to pay for the clerk’s
record and provided this court with proof of payment.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Because
appellant has not made payment arrangements for the
clerk’s record, it is the opinion of the court that the appeal should be
dismissed for want of prosecution.&nbsp; Accordingly, we dismiss the appeal.&nbsp; See
Tex. R. App. P. 37.3(b), 42.3(b).

Appellant
shall pay all costs of the appeal, for which let execution issue.

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PER CURIAM

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PANEL:&nbsp;
DAUPHINOT,
GARDNER, and WALKER, JJ.

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DELIVERED:&nbsp;
May 24, 2012&nbsp; 








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[1]See
Tex. R. App. P. 47.4.







